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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

             v.                                                     No. 1:24-MJ-109 (CFH)

FRANCIS T. DiCAPRIO

                           Defendant.


CHRISTIAN F. HUMMEL
U.S. MAGISTRATE JUDGE

                                  ORDER OF DETENTION

    The defendant appeared before the undersigned for a detention hearing on March 1st, 2024.

The United States moved for the detention of the defendant, contending that the defendant was

a risk of flight and a danger to the community, and the defendant opposed the government’s

motion.

    Wherefore, the undersigned finds, for the reasons stated herein and those incorporated by

reference, which were stated on-the-record at the conclusion of the detention hearing on March

1st, 2024, that there are no conditions or combination thereof which would ensure the

defendant’s safety in the community. Accordingly, it is hereby

    ORDERED that pursuant to 18 U.S.C. § 3142(f), the defendant shall be detained without

bail pending further proceedings in this case.

IT IS SO ORDERED.

Dated: March 1, 2024
       Albany, New York
